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EXHIBIT M

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NOTICE of COLLECTIVE ACTION LAWSUIT and OPPORTUNITY TO JOIN

 

 

Why Did I Get This Notice?

You have been identified as an individual who
worked for Cobalt Mortgage, lnc. (“Cobalt”) as a
Loan Processor, Senior Processor, or other like
mortgage processing employee (“Processors”)
between , 2013 and the present If you
have received this Notice, you may be eligible to
join this lawsuit.

What’s This About?

A former Cobalt Senior Processor filed a lawsuit
which seeks to recover minimum wages and/or
overtime pay for working in excess of 40 hours in
a workweek. The lawsuit claims that Processors
worked more than 40 hours in one or more weeks,
but did not receive overtime pay for all of the
hours they worked over 40 hours per week. The
lawsuit also claims that Cobalt failed to include all
bonuses such as tile bonuses in the regular rate of
pay for overtime calculation purposes Cobalt
contends that it properly paid Processors so Cobalt
does not owe any minimum or overtime wages
You are eligible to join this lawsuit if you worked
more than 40 hours in any week without minimum
wage or overtime pay.

The Court has not decided whether Cobalt failed
to pay any minimum or overtime wages owed.
Plaintiff in this lawsuit must prove her claim at
trial unless the case is settled.

What Happens If l Join This Lawsuit?

ff you join this Iawsuit, and the Processors settle
the case or win, you and the other plaintiffs may
get an amount up to two times the unpaid
minimum and/or overtime wages you and they
should have been paid, as well as attorneys’ fees
and costs.

 

 

Can I be Retaliated Against?

No. It is unlawful for Cobalt to terminate or take
any adverse action, as defined by the law, as a result
of your participation in this suit.

How Do I Join The Lawsuit?
If you want to join the lawsuit as a plaintiff, fill out
the enclosed Consenr to Joz`n form, and mail it back

in the enclosed envelope, email it back, or fax it
back. lt must be mailed received by |TBD|

What Are My Choices?
If you choose to join in this case, you will be bound
by the result in this case, whether it is favorable or

unfavorable

If you do not wish to join the lawsuit, you are free
to take action on your own or do nothing

Can I Get More Information?
To learn more, you can call the Processers’
attorneys toll free at 877-783-4729 or 913-766-
55 87.
Or write to:
Rowdy Meeks Legal Group LLC
Cobalt Overtime Pay Claims
8201 Mission Rd., Suite 250
Prairie Village, KS 66208

Or email:

Rowdv.i\/Ieeks@rmlegalgroup.com

 

The United States District Court in Sherman approved this Notice but
takes no position on the merits of the case.

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

SHERMAN DIVISION
ELIZABETH ZACHARY, On Behalf of )
l-Ierself and All Others Similarly ) JURY TRIAL DEMANDED
Situated, )
)
Plaintiffs, )
)
vs. ) Case no.: 4:16-cv-00754-ALM
l
COBALT MORTGAGE, INC., )
)
Defendant. )

CONSENT TO BECOME A PARTY PLAINTIFF
l, the undersigned, whom Defendant(s) employed as a Processor, Senior Processor, and/or in
another like mortgage processing job, hereby consent to be a party plaintiff in this lawsuit (or, if
due to unforeseen procedural matters, any subsequent related suit), which is an action to recover
unpaid wages including minimum wages and/or overtime compensation not paid pursuant to the
requirements of the Fair Labor Standards Act. By my signature below, l designate the named
Plaintiff(s) and their attorneys as my representatives to make decisions on my behalf concerning
the litigation, the manner and method of conducting this litigation, and decisions regarding
settlement, attomey’s fees and costs and all other matters pertaining to this lawsuit I understand
that while l have the right to choose other counsel and to pursue my claims on my own behalf, l
choose to be represented by Class Counsel from the Rowdy Meeks Legal Group LLC, Lee &

Braziel, L.L.P., and other attorneys with whom they may associatel

 

 

Ful| Name (Print clearly) Signatu re

 

Date

